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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8
     LARRY G PHILPOT,
 9
                                 Plaintiff,                 CASE NO. 2:20-cv-00815-BAT
10
             v.                                             ORDER REGARDING STATUS OF
11                                                          SERVICE
     SCRIPPS MEDIA INC; LITERALLY
12   MEDIA LTD,

13                               Defendant.

14          On May 29, 2020, Plaintiff filed a Complaint for Copyright Infringement against Scripps

15   Media, Inc. (“Scripps”) and Literally Media Ltd., d/b/a Cracked.com (“Literally Media”). Dkt. 1.

16   On June 2, 2020, the Clerk issued summonses for Scripps and Literally Media. Dkt. 3. Scripps

17   has appeared and is scheduled to respond to Plaintiff’s Complaint. Dkt. 9. Defendant Literally

18   Media has not appeared and there is no indication that this defendant has been served.

19          Pursuant to Federal Rule of Civil Procedure (“Fed. R. Civ. P.”) 4(m), if a defendant is not

20   served within 90 days after the complaint is filed, the court –on motion or on its own after notice

21   to the plaintiff –must dismiss the action without prejudice against the defendant or order that

22   service be made within a specified time. But, if the plaintiff shows good cause for the failure, the

23   court must extend the time for service for an appropriate period.



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 1          Plaintiff is responsible for having the summons and complaint served within the time

 2   allowed by Rule 4(m) and must furnish the necessary copies (of the summons and complaint) to

 3   the person who makes service. Fed. R. Civ. P. 4(c)(1).

 4          Accordingly, it is ORDERED that Plaintiff shall provide the Court with a status report of

 5   its efforts to serve Literally Media by October 27, 2020. If Plaintiff requires additional time to

 6   complete service, it should so advise the Court, with reasons for needing additional time, and

 7   indicating how much additional time is required.

 8          DATED this 20th day of October, 2020.

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                                                           BRIAN A. TSUCHIDA
11                                                         Chief United States Magistrate Judge

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     ORDER REGARDING STATUS OF SERVICE
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